Case: 3:12-cv-50276 Document #: 1 Filed: 07/20/12 Page 1 of 17 PagelD #:1

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

WESTERN DIVISION
RECEIVED
JUL 20 2012
EREDERICK LEE WALKER aad CLAGS
THOMAS G. BRUTON
) CLERK, US. DISTRICT COURT

(Enter above the full name

of the plaintiff or plaintiffs in ,
12 G0 2 76

this action)

VS. Case No:
(To be supplied by the Clerk of this Court)

 

MAUOR LASKET, Yo VALLE, Jo LAZARD ,

SERGEANT SIEVERS, LI€E@FENANT

TURY RIAL DEMANDED
BURKYRILE eee

 

 

 

(Enter above the full name of ALL
defendants in this action. Do not
use "et al.")

 

re ONLY:
\ COMPLAINT UNDER THE CIVIL RIGHTS ACT, TITLE 42 SECTION 1983
U.S. Code (state, county, or municipal defendants)

COMPLAINT UNDER THE CONSTITUTION (""BIVENS" ACTION), TITLE
28 SECTION 1331 U.S. Code (federal defendants)

OTHER (cite statute, if known)

 

BEFORE FILLING OUT THIS COMPLAINT, PLEASE REFER TO "INSTRUCTIONS FOR
FILING." FOLLOW THESE INSTRUCTIONS CAREFULLY.

 

 
 

II.

Case: 3:12-cv-50276 Document #: 1 Filed: 07/20/12 Page 2 of 17 PagelD #:2

Plaintiff(s):

A. Name: _ FREDERICK LEE wAlKke fk

B. __ List all aliases: Freddy lac , cud [} fener wlaller
C. Prisoner identification number: i5- 2¢2LD

D. Place of present confinement: _ Pratiae C.¢ «
E. Address: 700 _W. Lincola_, Poa-hac £1, 61164

(If there is more than one plaintiff, then each plaintiff must list his or her name, aliases, I.D.
number, place of confinement and current address according to the above format on a
separate sheet of paper.)

Defendant(s):
(In A below, place the full name of the first defendant in the first blank, his or her official
position in the second blank, and his or her place of employment in the third blank. Space

for two additional defendants is provided in B and C.)
A. Defendant: Salvadoe Godmez
Title: Director of Tinos Depart ment it orrect (ons
Z.d.0:6, Headquarters at 1301 Concordia Court
Place of Employment: _= in Springfie ld tiknocs-
B. Defendant: Warden € dwards
Title: Nead Warden
Place of Employment: Sticte vill e CC,
C. Defendant: Major Laske t
Title: Major
Place of Employment: 3 feel evi ll C, C 1

(If you have more than three defendants, then all additional defendants must be listed
according to the above format on a separate sheet of paper.)

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Deteadrat . Se Valle
Title : Coccectioual OL fice,

Place it Ennployment - Stateville C, ( ,

 

 

Detendaurt: Yo Lacard
Tee : Correctional Of feer

Place ot Couployment ; Stateville (.C,

 

 

 

 

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Place if Couployment . Staten, lle (, C,
 

 

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Case: 3:12-cv-50276 Document #: 1 Filed: 07/20/12 Page 4 of 17 PagelD #:4

Il. — List ALL lawsuits you (and your co-plaintiffs, if any) have filed in any state or federal
court in the United States:

A, Name of case and docket number: talker et al v. Sheahas 05 C 5634

 

B. Approximate date of filing lawsuit: Sep +t 2¢ l 2005

C. List all plaintiffs (if you had co-plaintiffs), including any aliases: ( lass of
Lometes af Coax Couty ctul (uyala rly Situated.

D. _List all defendants: cahan Steve Kurtovich Mulkceut lls 7 hyuas Sncons, Glbert Plardomen ,
Muar Mehanimgd , Ceroey Martiniac, Plaxtlo , BrooKlut ¢ £rachet a, Kautmann, Cbadier, famaptc, Gardner,
Baily Meadows, Black, Garett, Taylor, Jolin Does {- (00 4 (oor Cou oty wile Ale vand ec, John

Buley Michael Burton Sesh Bertels pTeEf Black’, Brown. -Ioel Collins , Cuts Crut, Michael hembosz James
M, Out Fy , Everhart , Gara, Giunto, cHarmen ,Kowalac, Miller, Meore Morris jfatterson \
Rueda (/50VaI4, Steadmay

E. Court in which the lawsuit was filed (if federal court, name the district; if state court,
name the county): _ A.D. o€ ll Cy Cau

 

 

F. Name of judge to whom case was assigned: Ronald Guzma)

 

G. Basic claim made: ¥CESSIVE Fe, Ce

 

 

H. Disposition of this case (for example: Was the case dismissed? Was it appealed?
Is it still pending?): Settled

 

 

I, Approximate date of disposition: ZOO¥
IF YOU HAVE FILED MORE THAN ONE LAWSUIT, THEN YOU MUST DESCRIBE THE

ADDITIONAL LAWSUITS ON ANOTHER PIECE OF PAPER, USING THIS SAME

PLAINTIFFS MUST ALSO LIST ALL CASES THEY HAVE FILED.

Uy Revised 9/2007

 

 
 

Case: 3:12-cv-50276 Document #: 1 Filed: 07/20/12 Page 5 of 17 PagelD #:5
SECOND CAWSULT

A. Name of case and docket number. Fredrick ldaller -vs- Dorf OTCV 2085

Gnd of- 137 8.
B. A pproxumate date a Lihag lowsud TUNnt (A, Poe7-

 

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F. Fudge case assigned To - Samttlel Der-Ylgpagare + $$ —______—

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H. Disposi trom. Des mssed

 

 

tT. Date ot Ds pon (on : march 7, F008.

 

 
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l-786-Gpm., Cecltet number’ Frednd Cailey V- Chistes ®. Parrned, at et.

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C. All Plat? = Fredriel alléey— :

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E. Cort in Uhh feds Satter. Dir OF +

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G. BASIC Claim MAUE ® Fae Mupe fe LCG 16C4; lr 7
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IV. Statement of Claim:

State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including names, dates, and places. Do not give any legal arguments or cite any
cases or statutes. If you intend to allege a number of related claims, number and set forth
each claim in a separate paragraph. (Use as much space as you need. Attach extra sheets if

necessary.)
VAYURE OF CASE
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and Usage at the Yailure by the prisons correcYional of ticers, Sup erviSors ancl

atticials Yo take the reasonable steps to provect the prisons inmates
trom other prison mmates Vhal put_thenr io he mminen’ and pervasive PISK
ot harm sacluding death %p their presons

(2) Plant, t¢ baler brags wdividual clame in connection with del berate
wodit Foreace to bus right é be ¥ree ¢rom_camave assault (resulting (n_Q.
comate assaul? ¢o his person and SOP (00S iajactes) agacas correctional otticers,
GU Pervis ors and otticials done pursuant ty cord poliey _peactice, procedure, custom ana

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(3) The plan bf class clomms SEEKS declaratory aod uayun ewe celle t.
(4) The plawntitt Walkecs cloms. “ndividual "seex the velit p £ declacatory

udpuea’s, actual and uate dautages aod apne tive rele

(5) The aloud. Wolwer_and. plamtste class oe lous allege viola ¥i0ns ot Yher U.S.
Leastitu tonal Lioh¥s and U.S, Loost tutional Biphi's aad. Lhnos Coosts Lic¥iona [

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mights and state fort rights and Loternational law rights.
TURISOICYLOW

(b) ys Lourt has purisdic tion over Yhe plambitl class and plant! Walkers
claims ot vooletions of ther Le deral constitutional rights under ZF U.S.C, Se

 

(330 (a) and (343.

( T) the Court bas pucwdieron over the planti¥l class and plant Waliers
claims of yroletions of Lnvernational Law kiph¥s under U.S. Loastitution Art.
1,2 8, cl 10; US. Constitution Reticle 282, the Supremacy Clause
ot the US. Lorsttation ond yarididtion 1s also claimed under the genera.(
federal question provision 29 USC. § (83 aud (345

(8) the plentsll class and plantitl Welwer seen declaratory releet

pursuant +o 28 USC. $220! and. LLOL

( G) the planttt class and plamtitt Waluers elums Yor mpnetve relied
are authorived by 2B us.C, S$ 2283 and 228Y,

( (0) The court has jurisdietion over planttF aud plat ches ’
state aw clarass Pursuant to s upplemetel jurisdic tion ctotute

 
 

SDSS Fe
Case: 3:12-cv-50276 Document #: 1 Filed: 07/20/12 Page 9 of 17 PagelD #:9

x(a)

FAILURE YO PROTECY~IWDIVIDUAL LIABILITY ANb DELIBERAYE-

 

 

(NOIF FERENCE .

1) Oo hpmil 21,201 19 Stat_eville C0. & Nouse / gallery cell 29
plawtitt Walner was attacced and beaten abou his face and
body with an unknown dangerous weapon by samave brady

# R- 28450.
Z) On multiple prior occasions plamtitt Walver had, communicated.
Yo deYendants Warden Edwards , Major Lasket , Yo Valle , Se lavard ,
S9%, Sievers and Ly. bureybsle that mmate Grady # R-28430
posed Yhe serious and imminent treat and misk OF serious
bodily harm on death Yo bys person yet hese detendanvs
fuled Yo Yaxe any reasonable steps to provecy plat Waluer
trom inmate brady # 828180, deliberately wil tally malierously
and negligeotly
2) ls a decd and pronimate cause of Vhe above descwibed
actions and actions of de¥endane plant Vb Waluer sulborecl
violations oF his &ty and 14% U.S. Const tatoonal Amendment rights
Ye be free Yom mate assault cruel aad unusual punrehned
and yus cogens customary laternational law , and or customary
Zoaternational law and or commen law International law
prob: br Ying tortureoug , cruel, inhuman, ov degrading Yreatment
on punishment of pwisoners , Sec¥ions 2 and It off the Loosttatan
of the State of Lhnors to be bree rom Ve mthetion of mtenbronal
harm by pricoar otticra ls , and the slate fou? of negligence. ,
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Case: 3:12-cv-50276 Document #: 1 Filed: 07/20/12 Page 10 of 17 PagelD #:10

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bone 4 & ¥ractured nese, Your stitches above bus wighy? é€yé , an yasiale.

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mental pain an dithering tature pan and sulbering ancl
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(6)
MFUNICIPAL LIABILITY OW rae FRILURE Yo PROTECT CLAY
4) Ov wtbormation and belek detendants Warden Edwards, Mayor
Lasker, Ya Valle, Jo Lacard , 5a¥ Sievers and Lt. Burybile have engaged,

 

 

in several doten or more past vastances of deliberate ing, fherence.
in Forlag Yo protect S¥atewle mmates trom other Stateville inmates
posing the wises of serious harms or death ty Ybew persons which
constitutes a policy, practice , procedure, custen and usage oF the tarlure
te provect? Stateville EC. mates trom other Stufenlle mates that Yh ough
ceoteary te weitten policy sco well establubed. as ¥o have Vie.
force of law. LE was pursuant to tbs policy, practice, procedure,
custom and vsage Ybat detendants Yarled to protect plawtitt
Walker as set borth ia paragraphs | through 3B supra
and meerperated herein. The above named detendants Knew

ot this peter practice procedure custom and usage und the
seereus and imminent risk of bodily barn or death ib poses Ye
Ye StatevMe inmates and Yaled to tone Che reaschable steps vo
protect plant tf Walker trom the same cles pi te the duty they owed.

 

 
 

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pohey t practice, procedure / custom and Usage Lo him ‘ Farliag
Yo protect Lim Yberehy directly cod proximately causing the mate
assault sulflered. by hi described yp paragraphs /- 5 aod
incorporated. berémn. hetenduot Codinee KACO? OF should bave Knows
ot this policy practice procedure custom aad usage , KNEW Ars suberdinates
including delend ants were noe Faring the reasenab/e steps fe protect
the prison devanees krom the same. and bhimsell deliberately malicrour ly
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S) Moreover the wmote assault suttered by plan, Uf Walmer as
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cj .C inmates posing the CiSHn§ of Jereus harm or death Yo their perSons
alleged. in paragraphs T vhrough q of Ybe class claro alleged whee
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inmate assault , thereby directly ned proumately causing the mate assault subtered.

by NY a described ip paragraphs | Supra. Defendant Godinez

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6) As a direct and prenimate: cause of She actions apd imachons of defend aals
and he palicys, practices, procedures, custims are JAE plait suttered the

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uousual punishment and 4us cagens, Customary laternational law , and af customary

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mouth injury Pequiriag SUX stitches aod other mul iple contusions, lacecafions, slings
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CLASS ACTION CLAIM- SYSTEMATICTHIL IDE |

MATIC FAIL WIDE POLICY , PRACTICE , PROCE DURE

 

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CUSTOM AND USAGE OF THE FAILURE To PROTECT THE PRISONS INMATES

 

FROM OTHER INMATES POSING THE SERIOUS AND IMMINENT RISK OF SERIOUS

 

 

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all Yoe mmates at Stateville C.C MaKE up the plawti le
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¢ ) There 16 @ systematic / yal wile, policy, prac Yice, procedulé ;
cus¥om and usage of the Yvailure by the Prisons correctional
otticers , supervisors and officials Yo provecy ¥be Prisons
mmates trom other prison wmmartes that put them in Ve
mmannent ape pervasive risk oF serious bodily harm or death
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£.C.+ betendants Knoco of encourage , allow , approve oF ,
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steps to elimnate the poltcy, practice, procedure , cus bon and USAGE
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pees @ rerrous immnen’ risk of serious imyury Ye plaattl class members,
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7) fs a direct asd proximate cause of the actwrt aud machont
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V. Relief:

State briefly exactly what you want the court to do for you. Make no legal arguments. Cite
no cases or statutes.

Ash cach claim declaratory celet ty plamttt Wiglker, A ty cach clo monetar fy damages md
er é ; nctwe in ten ats L e
Larypstac ive relief on all federal claims wg placotit ft Walker and placatitE class Lam inmate,

 

 

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VI. The plaintiff demands that the case be tried by a jury. YW YES O NO

CERTIFICATION

By signing this Complaint, I certify that the facts stated in this
Complaint are true to the best of my knowledge, information and
belief. I understand that if this certification is not correct, I may be
subject to sanctions by the Court.

Signed this 2 > aN day of Sant , 20 \Q)

 

 

 

 

     

Orn bn (Signature of plaintiff or p Antiffs)
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, MARK SPENCER (Print name)
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(Address)

    

 

6 Revised 9/2007

 

 

 
 

  
   

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